                   3:19-cr-30035-SEM-TSH # 92   Page 1 of 2
                                                                                  E-FILED
                                                 Wednesday, 16 February, 2022 01:47:27 PM
                                                             Clerk, U.S. District Court, ILCD

                   UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF ILLINOIS
                       SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                )
                                         )
            Plaintiff,                   )
                                         )
     v.                                  )      No. 19-30035
                                         )
DONALD R. FELTON,                        )
                                         )
            Defendant.                   )

          GOVERNMENT’S RESPONSE TO MOTION TO WITHDAW

     The United States of America, by its attorneys, Gregory K. Harris,

United States Attorney for the Central District of Illinois, and Timothy A.

Bass, Assistant United States Attorney, submits its response to the

defendant’s motion to withdraw and in support states as follows:

     The government respectfully objects to the defendant’s motion to

withdraw unless the defendant wishes to waive his right to counsel and

proceed pro se. Given that the defendant has had seven different

appointed counsel, the government objects to the motion to withdraw

and further requests that the Court schedule this matter for hearing.

     Finally, the government respectfully requests, if convenient for the

Court, that the hearing be scheduled in the afternoon of February 17th or

18th, 2022, or during the week of February 22, 2022.
                   3:19-cr-30035-SEM-TSH # 92    Page 2 of 2




                              Respectfully submitted,

                              GREGORY K. HARRIS,
                              UNITED STATES ATTORNEY


                              By:   s/Timothy A. Bass                     .




                                    Timothy A. Bass, MO Bar No. 45344
                                    Assistant United States Attorney
                                    318 South Sixth Street
                                    Springfield, IL 62701
                                    Phone: (217) 492-4450
                                    tim.bass@usdoj.gov



                        CERTIFICATE OF SERVICE
      I hereby certify that on February 16, 2022, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system which

will send notification of such filing to all counsel of record.

                                    s/Timothy A. Bass
                                    Timothy A. Bass, MO Bar No. 45344
                                    Assistant United States Attorney
                                    318 South Sixth Street
                                    Springfield, IL 62701
                                    Phone: (217) 492-4450
                                    tim.bass@usdoj.gov




                                       2
